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       Initial Conference Counsel and Counsel for Plaintiffs Bendorf,
 6
       Bendorf, Jones, Moon, Fruhling, Mason, Burke, Brady, Price, Bodie,
 7     Lui, Hall, Pue, Kozmic, Loburgio, Loburgio, Flannagan, Mitchell,
 8     Simmons, Denney, Cole, Day, Plaza, Yeghianian, and Zanmiller

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                             UNITED STATES DISTRICT COURT
11
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13     In Re: KIA HYUNDAI VEHICLE                   Case No.: 8:22-ML-3052 JVS(KESx)
14     THEFT MARKETING, SALES
       PRACTICES, AND PRODUCTS                      APPLICATION OF KENNETH B.
15     LIABILITY LITIGATION                         McCLAIN FOR POSITION OF CO-
16                                                  LEAD COUNSEL FOR PLAINTIFFS
17                                                  Date:    February 7, 2023
18                                                  Time:    9:00 a.m.
       This document relates to:                    Place:   411 W. Fourth Street,
19     ALL CASES                                             Santa Ana, CA 92701
20                                                           Court Room 10C
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       APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF               NO. 8:22-ML-3052 JVS(KESX)
       CO-LEAD COUNSEL FOR PLAINTIFFS
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 1     To The Honorable James V. Selna:
 2           Please accept my application for appointment to the position of Co-Lead Counsel
 3     for Plaintiffs. In addition, I am applying to serve as the Co-Lead Counsel representative
 4     on one, or more, of the subcommittees as established by the Court. Specifically, I would
 5     respectfully submit my application for appointment as the Co-Lead Counsel member of
 6     the Plaintiffs’ Expert Witness Discovery Subcommittee.
 7           In its Order No. 1, the Court identified four criteria for counsel appointments: 1)
 8     knowledge and experience in prosecuting complex litigation, including class actions; 2)
 9     willingness to commit to a time-consuming process; 3) ability to work cooperatively with
10     others; and (4) access to sufficient resources to prosecute. As demonstrated in more detail
11     below, I am exceptionally qualified in all four criteria.
12           First, the background, experience, and resources that I, and my firm, bring to this
13     litigation will benefit the Kia and Hyundai vehicle owners that have been adversely
14     impacted by decisions these companies made that left customers vulnerable to having
15     their cars and property stolen.
16           My knowledge and experience in prosecution of complex litigation is substantial.
17     During my forty-year career, I have had the fortune to work on a wide variety of complex
18     litigation matters, including multidistrict litigation (MDL) class actions, complex
19     products liability cases, commercial litigation, ERISA, environmental, and property
20     damage claims. I would bring this diversity of experience to the role of Co-Lead Counsel
21     in these cases. In total, I have tried over 500 cases, involving thousands of plaintiffs, in
22     state, federal, and arbitral forums.
23           As to the Court’s second criteria, I am both willing, and able, to devote myself to
24     this litigation. During my career, I have demonstrated that both I, and my firm, will
25     devote the time and resources necessary to successfully prosecute any claim we pursue.
26           Third, as I will outline below, I have worked on numerous cases where multiple
27     law firms were needed to reach a favorable outcome for the clients. In fact, I am
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 1     currently or recently involved in several cases where a consortium of lawyers worked
 2     together for the benefit of our clients.
 3           Finally, I am supported by a firm of 15 lawyers and more than 15 staff members.
 4     We have successfully pursued cases against the largest and most powerful companies and
 5     industries in the world. Our firm has the financial and individual resources to draw on to
 6     prosecute these claims against Kia and Hyundai and to do so in an efficient and timely
 7     manner.
 8                                             BIOGRAPHY
 9           By way of background, I graduated from the University of Michigan Law School
10     in 1982, where I served as an Editor of the Journal of Law Reform. I have been with my
11     current law firm since 1985 where I have enjoyed a diverse trial law practice in areas
12     such as class action litigation (consumer protection, property damage and employment
13     discrimination), tobacco litigation (personal injury claims and governmental claims for
14     reimbursement of medical expenses), asbestos litigation (property diminution and
15     personal injury), toxic torts (our firm literally pioneered litigation involving workers who
16     developed “popcorn lung” from exposure to the butter flavoring diacetyl used in foods
17     such as microwave popcorn) and general negligence or products liability personal injury
18     claims. The profile section of our firm website and a copy of my résumé are attached as
19     exhibits to this application.
20                                             DISCUSSION
21           1. Experience in Prosecution of Complex Litigation, Including Class Action
22               Claims
23           From the very beginning of my career, I have been involved in cases that were
24     both factually and legally complex. Due to my successes, the geographic and subject-
25     matter scope of my practice has continued to expand since that time. In my career I have
26     tried cases on behalf of plaintiffs in 18 different states.
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 1        • In Re: Dollar General Corp. Motor Oil Marketing and Sales Practices Litigation
 2           (Nationwide Class Action)
 3           Specifically with respect to MDL class action litigation, from 2016-2021 I served
 4     as Liaison Counsel for the plaintiffs in the case of In Re: Dollar General Corp. Motor Oil
 5     Marketing and Sales Practices Litigation, MDL No. 2709, that was pending before the
 6     Honorable Gary A. Fenner in the Western District of Missouri. The Dollar General case
 7     involved claims that Dollar General Stores sold motor oil products that were obsolete and
 8     unfit for vehicles manufactured after 1988. In addition to my role as Liaison Counsel, I
 9     was heavily involved in fact and expert witness discovery. Finally, I led the plaintiffs’
10     settlement negotiations that resulted in a nationwide class settlement that included both
11     monetary relief to the class and injunctive relief aimed to prevent Dollar General Stores
12     from engaging in future similar conduct.
13        • DST Systems, Inc. ERISA Litigation
14           While the majority of litigation in the United States was halted during the COVID-
15     19 pandemic, I personally tried hundreds of AAA arbitrations in groups against DST
16     Systems, Inc. for violations of fiduciary duty under ERISA using the ZOOM
17     videoconference platform. From 2020 to 2021, I led a group of four law firms that
18     successfully arbitrated claims in favor of our clients resulting in more than $35 million in
19     awards. I was lead trial counsel for over 300 arbitrations and enjoyed a success rate of
20     more than 80 percent.
21        • Williams et al. v. Sprint/United Management Co. (Nationwide Class Action)
22           I served as lead counsel in Williams et al. v. Sprint/United Management Co., Case
23     No. 03-02200-JWL in the District of Kansas that was presided over by the Honorable
24     John W. Lungstrum.          Williams involved nearly 1,700 workers claiming age
25     discrimination. In 2007, we reached a settlement that provided $57 million in relief paid
26     to the class (this amount does not include attorney fees). I worked cooperatively with co-
27     counsel and opposing counsel to fashion a settlement beneficial to all class members
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       APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF                NO. 8:22-ML-3052 JVS(KESX)
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 1     while ensuring that retirement and pension benefits were unaffected by the settlement
 2     reached.
 3        • Sanford v. Centurytel of Missouri, LLC (Missouri State Class Action)
 4            In 2018, in a case where I was lead counsel, our firm obtained final approval of a
 5     $7.5 million settlement with Centurytel of Missouri to reimburse customers for more than
 6     80% of disputed Universal Service Fund Charges that plaintiffs claimed were improperly
 7     charged by a cable television and internet service provider. The Sanford case was
 8     presided over by the Honorable Jeff Harris in the Boone County, Missouri, Circuit Court
 9     I received court approval of a settlement that provided class members nearly complete
10     relief from these improper charges, despite the fact that the defendant argued the service
11     agreement included both an enforceable arbitration clause and a clause that prevented
12     claims to being brought as a class action.
13        •   In Re: Blitz U.S.A., Inc. et al.,
14            In Re: Blitz U.S.A., Inc., et al., involved numerous claims of burn injuries resulting
15     from defectively designed plastic gas cans sold manufactured and distributed by Blitz,
16     U.S.A., Inc. This case was presided over by the Honorable Peter J. Walsh (retired) of the
17     United States Bankruptcy Court for the District of Delaware. I became involved in the
18     Blitz litigation in 2013, and, within approximately nine months, I was successful in
19     negotiating and coordinating settlement of more than 200 personal injury cases with a
20     settlement value exceeding $200 million.        Bringing these cases to conclusion was
21     possible because of my ability to work not only with the 50 counsel representing injured
22     persons and families – but also because I had the ability to work with over 70 opposing
23     counsel representing insurance carriers to craft settlements beneficial to my clients.
24        • Demetre v. HMS Holdings Group
25            In 2017, I led a team of four law firms that obtained a $60 million verdict for
26     breach of contract in favor of our clients who suffered economic losses following the sale
27     of their medical data software company. The defendant failed to use “best efforts” to
28     generate profits that would have flowed to our clients as part of “earn-out payments”
                                                 4
       APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF                 NO. 8:22-ML-3052 JVS(KESX)
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 1     under the purchase agreement. The Demetre case was tried in the Supreme Court of the
 2     State of New York in the County of New York, before the Honorable Saliann Scarpulla.
 3           • Asbestos Removal Litigation
 4           I was one of the first lawyers in the United States to pioneer asbestos litigation for
 5     owners of building seeking damages for costs of abatement. In 1986, I tried the first
 6     successful case of its type for a local school district. After that time, I tried similar cases
 7     in ten different states in both federal and state courts. With respect to this litigation, I
 8     would highlight the following:
 9                    o Michigan School District Class Actions
10           The Michigan School District asbestos class action involved claims against more
11     than a dozen defendants in separate trials on behalf of 300 school districts in the State of
12     Michigan. In total, I succeeded in recovering more than $50 million on behalf of the
13     school districts.
14                    o THS Northstar v. W.R. Grace & Co.
15           In 1993, I obtained a $19.7 million verdict for costs associated with asbestos
16     abatement and removal for owners of the Northstar Center in Minneapolis, Minnesota.
17     The Northstar Building case was before the late Honorable Robert G. Renner of the
18     United States District Court for the District of Minnesota.
19                    o City of Kansas City v. Keene Corp.
20           The KCMO v. Keene Corp. case involved claims for expense to abate asbestos
21     contamination at the Kansas City International Airport. In 1991, I obtained verdict of
22     more than $14 million in compensatory and punitive damages in favor of the City of
23     Kansas City.
24           In addition, I represented school districts and other property owners across the
25     United States, recovering in excess of $100 million.
26           • Asbestos Personal Injury Litigation
27           In cases consolidated before the West Virginia Mass Litigation Panel, I was part of
28     a three-lawyer team that represented more than 7000 individuals with claims for personal
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 1     injury from asbestos exposure. Following a successful plaintiff’s verdict in a liability
 2     trial, confidential settlements were reached with all defendants.
 3           • Department of General Services v. Monsanto Corp. (“PennDOT”)
 4           In 2000, I obtained a $90 million verdict for the Commonwealth of Pennsylvania
 5     for damages resulting from PCB contamination in the Pennsylvania Transportation &
 6     Safety Building in Harrisburg, Pennsylvania. The PennDOT case was presided over by
 7     the late Honorable Charles P. Mirarchi, Jr. On re-trial the PennDot case was before the
 8     Honorable Robert Simpson (retired) in the Pennsylvania Commonwealth Court.
 9           • Petrovic v. Amoco Oil Co. (Class Action)
10           In 1999, in Petrovic v. Amoco Oil Co., I negotiated a settlement for local Missouri
11     property owners as well as two local municipalities for pollution caused by an oil refinery
12     which provided payment to owners far in excess of the fair-market value of the property.
13     Petrovic was presided over by the Honorable Fernando J. Gaitan, Jr., of the United States
14     District Court for the Western District of Missouri.
15           • Diacetyl Litigation
16           In 2000, the National Institute of Occupational Safety and Health (NIOSH)
17     investigated an outbreak of lung disease among workers at a microwave popcorn factory
18     in Jasper, Missouri, who worked with a butter flavoring ingredient called diacetyl. By
19     2004, our firm had investigated and successfully brought to trial the first case involving a
20     worker injured from exposure to this toxic chemical. In 2004, I obtained a verdict of $20
21     million for an injured worker in Peoples v Bush, Boake Allen in the Circuit Court of
22     Jasper County, Missouri.
23           Following the success in the Peoples, case, I continued to try cases on behalf of
24     individuals injured by diacetyl exposure, successfully trying to verdict McNeely v. Bush,
25     Boake Allen, et al., ($15 million) in Jasper County, Missouri; Solis v. BASF Corporation
26     ($32 million) in Cook County, Illinois; Kuiper v. Givaudan Flavors, Inc., ($7.5 million)
27     in the United States District Court for the Northern District of Iowa; and Watson v. Dillon
28     Companies, ($7.2 million) in the United States District Court for the District of Colorado.
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       APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF                   NO. 8:22-ML-3052 JVS(KESX)
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 1           I have also been successful in reaching settlements on behalf of many large groups
 2     of workers injured by exposure to diacetyl in the workplace. The two largest groups were
 3     claims in bankruptcy court involving Chemtura Corporation (more than 225 individuals)
 4     and Polarome Corporation (involving more than 300 different workers).                 In Re:
 5     Chemtura Corp, which settled for $50 million, was pending before the Honorable Robert
 6     E. Gerber (retired) in the United States Bankruptcy Court for the Southern District of
 7     New York. In addition, I have successfully negotiated confidential settlements for two
 8     different groups of more than 150 workers each against different flavoring manufacturers
 9     using diacetyl in their products.
10           • Tobacco Litigation
11           In 1993, when I took my first tobacco case, such cases were considered impossible
12     to win. In 1997, I reached a confidential settlement on behalf of Janet Sackman, the
13     former poster model for Lucky Strike cigarettes. Notably, the Sackman case was the first
14     action to deprivilege thousands of tobacco industry documents that were the lynchpin to
15     further success against tobacco companies nationwide. In the Sackman case I appeared
16     before the late Honorable Arthur D. Spatt of the United States District Court for the
17     Eastern District of New York. In addition to settlement of the Sackman case, I have
18     successfully tried to verdict numerous cases against the tobacco industry including Smith
19     v Brown & Williamson ($22 million) and Burton v. R.J. Reynolds Tobacco Co. ($15.2
20     million).
21           I have also represented state and provincial governments in claims against the
22     tobacco industry to recover costs associated with smoking and addiction. I was lead
23     liability counsel employed by the State of Missouri to prosecute, and settle, claims on its
24     behalf for expenses incurred for treatment of smoking-related illness.
25           Currently, I represent the Province of Newfoundland and Labrador, Canada,
26     prosecuting its claim against the tobacco industry to be reimbursed for medical expenses
27     incurred due to smoking-related illness. My work on behalf of the Newfoundland and
28     Labrador government required that I become a member of the Canadian bar. As a result,
                                                7
       APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF                NO. 8:22-ML-3052 JVS(KESX)
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 1     I sat for – and passed – the Canadian bar examination. In 2013, I was admitted to the
 2     bars of Ontario, Manitoba, and Newfoundland and Labrador.
 3            • Toxic Tort Litigation
 4             In addition to successfully settling claims on behalf of my clients, I have received
 5     numerous verdicts in excess of $20 million for claims of individual personal injury
 6     involving various toxic torts. My experience at trial in these complex cases against the
 7     best defense firms throughout the nation is relevant to my qualifications to serve in a
 8     leadership position in this case.
 9            For example, in Kirk v. FAG Bearings, I obtained a $20.6 million verdict for
10     exposure to trichloroethylene (TCE) in groundwater. The Kirk case was tried in 2016
11     before the Honorable D. Greg Kays in the United States District Court for the Western
12     District of Missouri.
13            In 2013, I received a $28 million verdict in favor of our client who suffered a lung
14     injury from exposure to toxic metal working fluid in the workplace. The Berger v.
15     Copeland Compressor Corp. case was tried in the Circuit Court of Laclede County,
16     Missouri, before the late Honorable Ralph Jaynes.
17            2. Willingness and Ability to Commit to a Time-Consuming Process
18            By their very nature, the cases that my firm and I are involved in require both the
19     willingness and ability to commit to the work necessary to pursue the claim to a
20     successful outcome. My firm has already demonstrated its commitment to investing the
21     time, talent, and monetary resources necessary to prosecute these claims. Of the cases
22     pending before this Court, our office represents the plaintiffs in 13 cases1 that were the
23     first-filed class actions in their home states, including California. We currently represent
24     over 400 individuals from more than thirty states who have suffered damage due to the
25     lack of engine immobilizers in these vehicles.
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27           Our office represents the first-filed putative classes in California, Colorado Florida,
       Illinois, Iowa, Kansas, Kentucky, Minnesota, Missouri, Nebraska, New York, Ohio, and
28     Texas. As required by Iowa law, our firm obtained authority to bring a claim on behalf
       of Iowa residents from the Iowa Attorney General’s office prior to suit being filed.
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       APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF                 NO. 8:22-ML-3052 JVS(KESX)
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 1         In addition, our office has been actively preparing to litigate these cases. We have
 2   retained and consulted with experts to evaluate the claims and advise us on issues such as
 3   theories of defect, industry standards, Federal Motor Vehicle Safety Standards (FMVSS)
 4   and damage models.
 5         3. Ability to Work Cooperatively With Others
 6         Over the past several months, our office has already demonstrated the ability to
 7   work in cooperation with other lawyers involved in this litigation. Most recently, I
 8   worked with Mr. Berman and Ms. Fegan in preparing the draft of the Joint Preliminary
 9   Report that will be submitted to the Court later this month. Prior to these cases being
10   transferred to this Court, our office has worked cooperatively with Mr. Brennan and
11   others at Jenner & Block to eliminate unnecessary expense to the parties and conserve
12   resources of the transferor courts.
13         Virtually all of the cases highlighted above required that I, along with my law firm,
14   work cooperatively with other law firms in order to obtain successful outcomes. For
15   example, the Dollar General cases involved collaboration between our office and firms
16   throughout the United States – including Louisiana, Texas, Kentucky, Oregon, Wisconsin
17   and New Jersey. When representing the State of Missouri in tobacco litigation, I was part
18   of a four-firm consortium hired by the Missouri Attorney General to prosecute, and
19   ultimately settle, that claim. Similarly, the DST Systems litigation involved four law
20   firms working cooperatively to ensure success for the entire group. Collaboration and
21   cooperation was also required for the Demetre case (four law firms) as well as the many
22   asbestos property damage cases in which I have been involved over my career.
23         Finally, I believe it is worth highlighting to the Court that my ability to work
24   cooperatively also extends to counsel for defendants. I have learned throughout my
25   career that being the best advocate for my client and my client’s position means
26   developing a relationship of mutual trust and cooperation with opposing counsel.
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     APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF               NO. 8:22-ML-3052 JVS(KESX)
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 1         4. Access to Sufficient Resources to Prosecute
 2         Our firm is well equipped to support my role in a Co-Lead Counsel position. For
 3   more than thirty years our office has demonstrated that it has the financial resources to
 4   engage in any case regardless of the opponent. The best example of the strength of our
 5   firm can be demonstrated in the track record that we established in tobacco litigation. For
 6   many years, the strategy of the tobacco industry was to overwhelm opposing counsel in
 7   every aspect of the case. Each time, our law firm met that challenge – whether it be in
 8   terms of financial or personnel resources.
 9         My office is fortunate to have 13 attorneys in our litigation section. While I have
10   now been at this firm for nearly 40 years, one of my litigation partners has been with me
11   for more than 35 years and six more have been with the firm for more than ten years. In
12   addition, we have more than 15 support staff, including paralegals and legal assistants.
13   Many of our support staff have been with our firm for more than ten years.
14         Simply put, we are a strong firm with an established track record of success. Our
15   firm regularly handles complex cases in which we invest tremendous resources of every
16   type. We are willing and able to apply these resources of talent and capital to the Kia and
17   Hyundai cases as well.
18                                        CONCLUSION
19         Based upon my background and experience as described above, I respectfully seek
20   appointment as Co-Lead Counsel in this litigation and appointment to the Plaintiffs’
21   Expert Witness Discovery Subcommittee. While the Court has made clear that this is an
22   individual appointment, if selected I will bring not only my own experience, but the
23   collective experience and substantial resources of my firm.
24         These cases will present challenges at every step in the litigation. I look forward to
25   the opportunity to work with co-counsel on behalf of the plaintiffs to fashion a resolution
26   that will afford the best possible relief for all who have been affected by the
27   circumstances surrounding these cases. Thank you for consideration of my application.
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     APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF                NO. 8:22-ML-3052 JVS(KESX)
     CO-LEAD COUNSEL FOR PLAINTIFFS
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 1   Dated: January 23, 2023         By: /s/ Kenneth B. McClain
                                            Kenneth B. McClain, Esq.
 2
                                            HUMPHREY FARRINGTON & McCLAIN
 3                                          221 W. Lexington Ave., Suite 400
                                            Independence, MO 64050
 4
 5                                          Initial Conference Counsel and Counsel for
                                            Plaintiffs Bendorf, Bendorf, Jones, Moon,
 6
                                            Fruhling, Mason, Burke, Brady, Price, Bodie, Lui,
 7                                          Hall, Pue, Kozmic, Loburgio, Loburgio,
 8                                          Flannagan, Mitchell, Simmons, Denney, Cole,
                                            Day, Plaza, Yeghianian, and Zanmiller
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     APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF               NO. 8:22-ML-3052 JVS(KESX)
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 1            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 11-6.1
 2
           The undersigned counsel of record for Plaintiffs Bendorf, Bendorf, Jones, Moon,
 3
     Fruhling, Mason, Burke, Brady, Price, Bodie, Lui, Hall, Pue, Kozmic, Loburgio,
 4
 5   Loburgio, Flannagan, Mitchell, Simmons, Denney, Cole, Day, Plaza, Yeghianian, and
 6
     Zanmiller certifies that the above document contains 3,344 words which complies with
 7
 8   Local Rule 11-6.1.

 9
10
                                            /s/ Kenneth B. McClain
11                                                 Kenneth B. McClain
12
13
14
                                 CERTIFICATE OF SERVICE
15
16         I certify that on January 23, 2023, I filed the above document using the CM/ECF

17   system which served counsel of record via electronic service.
18
19
20                                          /s/ Kenneth B. McClain
                                                   Kenneth B. McClain
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                                                 12
     APPLICATION OF KENNETH B. MCCLAIN FOR POSITION OF               NO. 8:22-ML-3052 JVS(KESX)
     CO-LEAD COUNSEL FOR PLAINTIFFS
